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15 Driveroo, Inc.

16
                  IN THE UNITED STATES DISTRICT COURT
17              FOR THE NORTHERN DISTRICT OF CALIFORNIA
18

19   SOCIAL POSITIONING INPUT
     SYSTEMS, LLC,
20
                                            Case No. 5:22-cv-00222-VKD
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                        Plaintiff,          DEFENDANT DRIVEROO, INC.’S
22                                          ANSWER, AFFIRMATIVE
23                v.                        DEFENSES, AND COUNTERCLAIMS
                                            TO PLAINTIFF’S COMPLAINT
24
     DRIVEROO, INC.,
25                             Defendant.
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1          Defendant Driveroo, Inc. (“Driveroo” or “Defendant”) files this Answer,
2    Affirmative Defenses, and Counterclaims to Plaintiff Social Positioning Input
3    Systems, LLC’s (“Plaintiff” or “Social Positioning”) Complaint for Patent
4    Infringement (“Complaint”). Driveroo denies the allegations and characterizations
5    in Plaintiff’s Complaint unless expressly admitted in the following paragraphs.1
6                             PARTIES AND JURISDICTION
7          1.     Driveroo admits that the Complaint purports to set forth an action for
8    infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.
9          2.     Driveroo admits that this Court has subject matter jurisdiction over
10   this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
11         3.     Driveroo is without knowledge or information sufficient to form a
12   belief as to the truth of the allegations in Paragraph 3 of the Complaint and, on that
13   basis, denies all such allegations.
14         4.     Driveroo admits the allegations in Paragraph 4 of the Complaint.
15         5.     Driveroo does not contest that the Court has personal jurisdiction over
16   it in this case. Driveroo admits that it conducts business in the State of California.
17   Driveroo denies it has committed or is committing acts of infringement within this
18   district or elsewhere and, on that basis, denies the remaining allegations of
19   Paragraph 5 of the Complaint.
20         6.     Driveroo admits that it has used, imported, offered for sale, or sold
21   instrumentalities in this District. Driveroo denies it has committed or is committing
22   acts of infringement within this district or elsewhere and, on that basis, denies the
23   remaining allegations of Paragraph 6 of the Complaint
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26   For avoidance of doubt, Driveroo denies liability for all allegations of patent
   infringement included or implied in the introductory paragraph or in any headings
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   of the Complaint.
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1                                           VENUE
2          7.     Driveroo does not contest that venue is proper in this case, but denies
3    that venue is convenient.
4                                          COUNT I
5        (ALLEGED) INFRINGEMENT OF UNITED STATES PATENT NO.
6                                           9,261,365
7          8.     Driveroo incorporates paragraphs 1 through 7 herein by reference.
8          9.     Driveroo admits that the Complaint purports to set forth an action for
9    infringement under the Patent Laws of the United States, 35 U.S.C. §§ 271, et seq.
10         10.    Driveroo is without knowledge or information sufficient to form a
11   belief as to the truth of the allegations in Paragraph 10 of the Complaint and, on
12   that basis, denies all such allegations.
13         11.    Driveroo admits that a purported copy of U.S. Patent No. 9,261,365
14   (the “’365 Patent”) is attached to the Complaint as Exhibit A and that the face of
15   that patent indicates that it is entitled “Device, System and Method for Remotely
16   Entering, Storing and Sharing Addresses for a Positional Information Device.”
17         12.    Driveroo denies the allegations in Paragraph 12 of the Complaint.
18         13.    Driveroo denies the allegations in Paragraph 13 of the Complaint.
19         14.    Driveroo denies the allegations in Paragraph 14 of the Complaint.
20         15.    Driveroo denies the allegations in Paragraph 15 of the Complaint.
21         16.    Driveroo denies the allegations in Paragraph 16 of the Complaint.
22         17.    Driveroo denies the allegations in Paragraph 17 of the Complaint.
23         18.    Driveroo denies the allegations in Paragraph 18 of the Complaint.
24         19.    Driveroo denies the allegations in Paragraph 19 of the Complaint.
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1           20.       Driveroo is without knowledge or information sufficient to form a
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     belief as to the truth of the allegations in Paragraph 20 of the Complaint and, on that
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     basis, denies all such allegations

5                        [PLAINTIFF’S] DEMAND FOR JURY TRIAL
6           Driveroo is not required to provide a response to Plaintiff’s demand for a
7    trial by jury.
8                           [PLAINTIFF’S] PRAYER FOR RELIEF
9           Driveroo denies the Plaintiff is entitled to any relief from Driveroo and
10   denies all the allegations contained in Paragraphs (a)-(e) (including any subparts)
11   of Plaintiff’s Prayer for Relief.
12                                AFFIRMATIVE DEFENSES
13          Driveroo’s Affirmative Defenses are listed below. Driveroo reserves the
14   right to amend its answer to add additional Affirmative Defenses consistent with
15   the facts discovered in this case.
16                             FIRST AFFIRMATIVE DEFENSE
17          Driveroo has not infringed and does not infringe, under any theory of
18   infringement (including directly (whether individually or jointly) or indirectly
19   (whether contributorily or by inducement)), any valid, enforceable claim of the
20   ’365 Patent.
21                           SECOND AFFIRMATIVE DEFENSE
22          Each asserted claim of the ’365 Patent is invalid for failure to comply with
23   one or more of the requirements of the United States Code, Title 35, including
24   without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations,
25   and laws pertaining thereto.
26                            THIRD AFFIRMATIVE DEFENSE
27          To the extent that Plaintiff and any predecessors in interest to the ’365 Patent
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1    failed to properly mark any of their relevant products or materials as required by
2    35 U.S.C. § 287, or otherwise give proper notice that Driveroo’s actions allegedly
3    infringe the ’365 Patent, Driveroo is not liable to Plaintiff for the acts alleged to
4    have been performed before Driveroo received actual notice that it was allegedly
5    infringing the ’365 Patent.
6                          FOURTH AFFIRMATIVE DEFENSE
7          To the extent that Plaintiff asserts that Driveroo indirectly infringes, either
8    by contributory infringement or inducement of infringement, Driveroo is not liable
9    to Plaintiff for the acts alleged to have been performed before Driveroo knew that
10   its actions would cause indirect infringement.
11                           FIFTH AFFIRMATIVE DEFENSE
12         The claims of the ’365 Patent are not entitled to a scope sufficient to
13   encompass any system employed or process practiced by Driveroo.
14                           SIXTH AFFIRMATIVE DEFENSE
15         To the extent Plaintiff contends that it alleges a claim for indirect
16   infringement (whether by inducement or contributorily), Plaintiff has failed to state
17   a claim upon which relief can be granted.
18                        SEVENTH AFFIRMATIVE DEFENSE
19         Plaintiff’s Complaint fails to state a claim upon which relief can be granted
20   because the ’365 Patent does not claim patent eligible subject matter under 35
21   U.S.C. § 101.
22                         EIGHTH AFFIRMATIVE DEFENSE
23         Plaintiff’s Complaint fails to state a claim upon which relief can be granted
24   because, among other things, Plaintiff has not stated a plausible allegation that any
25   system employed by Driveroo practices: “sending a request from a requesting
26   positional information device to a server for at least one address stored in at least
27   one sending positional information device, the request including a first identifier of
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1    the requesting positional information device”; and “receiving at the requesting
2    positional information device, from the server, a retrieved at least one address to
3    the requesting positional information device wherein the server determines a
4    second identifier for identifying the at least one sending positional information
5    device based on the received first identifier and retrieves the requested at least one
6    address stored in the identified at least one sending positional information device”;
7    as required by Claim 1 of the ’365 Patent.
8                           NINTH AFFIRMATIVE DEFENSE
9          Plaintiff is estopped, based on statements, representations, and admissions
10   made during prosecution of the patent application resulting in the asserted patent,
11   from asserting any interpretation of any valid, enforceable claims of the ’365
12   Patent that would be broad enough to cover any accused product alleged to infringe
13   the asserted patent, either literally or by application of the doctrine of equivalents.
14                          TENTH AFFIRMATIVE DEFENSE
15         Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C.
16   §§ 286 and 287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering
17   costs associated with its action.
18                         ELEVENTH AFFIRMATIVE DEFENSE
19         Plaintiff is precluded from recovering its reasonable attorney’s fees, costs,
20   and or increased damages under 35 U.S.C. §§ 284 or 285.
21                         TWELFTH AFFIRMATIVE DEFENSE
22         Should Driveroo be found to infringe any valid, enforceable claim of the
23   ’365 Patent, such infringement was not willful.
24                          DRIVEROO’S COUNTERCLAIMS
25         For its counterclaims against Plaintiff Social Positioning Input Systems,
26   LLC (“Social Positioning”), Counterclaim Plaintiff Driveroo Inc. (“Driveroo”),
27   alleges as follows:
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1                                         PARTIES
2          1.      Counterclaim Plaintiff Driveroo is a corporation organized and
3    existing under the laws of Delaware that maintains its principal place of business at
4    1415 Rollins Rd #205, Burlingame, CA 94010.
5          2.      Upon information and belief based solely on Paragraph 1 of the
6    Complaint as pled by Plaintiff, Counterclaim Defendant Social Positioning Input
7    Systems, LLC is a limited liability company organized and existing under the laws
8    of Wyoming that maintains its principal place of business at 1 East Broward
9    Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
10                                    JURISDICTION
11         3.      Driveroo incorporates by reference Paragraphs 1–2 above.
12         4.      These counterclaims arise under the patent laws of the United States,
13   Title 35, United States Code. The jurisdiction of this Court is proper under at least
14   35 U.S.C. § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
15         5.      Social Positioning has consented to the personal jurisdiction of this
16   Court at least by commencing its action for patent infringement in this District, as
17   set forth in its Complaint.
18         6.      Based solely on Social Positioning’s filing of this action, venue is
19   proper for purposes of these counterclaims in this District pursuant at least 28
20   U.S.C. §§ 1391 and 1400.
21                                        COUNT I
22      DECLARATION REGARDING NON-INFRINGEMENT OF THE ’365
23                                        PATENT
24         7.      Driveroo incorporates by reference Paragraphs 1–6 above.
25         8.      Based on Social Positioning’s filing of this action and at least
26   Driveroo’s first affirmative defense, an actual controversy has arisen and now
27   exists between the parties as to whether Driveroo infringes U.S. Patent No.
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1    9,261,365 (the “’365 Patent”).
2          9.      Driveroo does not infringe at least Claim 1 of the ’365 Patent
3    because, inter alia, Plaintiff has not stated a plausible allegation that any system
4    employed by Driveroo practices: “sending a request from a requesting positional
5    information device to a server for at least one address stored in at least one sending
6    positional information device, the request including a first identifier of the
7    requesting positional information device”; and “receiving at the requesting
8    positional information device, from the server, a retrieved at least one address to
9    the requesting positional information device wherein the server determines a
10   second identifier for identifying the at least one sending positional information
11   device based on the received first identifier and retrieves the requested at least one
12   address stored in the identified at least one sending positional information device.”
13         10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201
14   et seq., Driveroo requests a declaration by the Court that Driveroo has not
15   infringed and does not infringe any claim of the ’365 Patent under any theory
16   (including directly (whether individually or jointly) or indirectly (whether
17   contributorily or by inducement).
18                                        COUNT II
19                    DECLARATION REGARDING INVALIDITY
20         11.     Driveroo incorporates by reference Paragraphs 1–10 above.
21         12.     Based on Social Positioning’s filing of this action and at least
22   Driveroo’s Second Affirmative Defense, an actual controversy has arisen and now
23   exists between the parties as to the validity of the claims of the ’365 Patent.
24         13.     On information and belief, the claims of the ’365 Patent are invalid
25   for failure to comply with one or more of the requirements of United States Code,
26   Title 35, and the rules, regulations, and laws pertaining thereto.
27         14.     For example, as explained in Driveroo’s Motion to Dismiss pursuant
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1    to Fed. R. Civ. P. 12(b)(6), incorporated by reference herein, the ’365 Patent is
2    invalid for failure to comply with 35 U.S.C. § 101. As explained, the ’365 Patent
3    claims nothing more than an abstract idea, and it fails to claim an inventive concept.
4          15.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201
5    et seq., Driveroo requests a declaration by the Court that the claims of the ’365 Patent
6    are invalid for failure to comply with one or more of the requirements of United
7    States Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and
8    112, and the rules, regulations, and laws pertaining thereto.
9          16.     Driveroo does not have an adequate remedy at law.
10                                 PRAYER FOR RELIEF
11         WHEREFORE, Driveroo asks this Court to enter judgment in Driveroo’s
12   favor and against Social Positioning by granting the following relief:
13         a)      a declaration that the ’365 Patent is invalid;
14         b)      a declaration that Driveroo does not infringe, under any theory, any
15   valid claim of the ’365 Patent that may be enforceable;
16         c)      a declaration that Social Positioning take nothing by its Complaint;
17         d)      judgment against Social Positioning and in favor of Driveroo;
18         e)      dismissal of the Complaint with prejudice;
19         f)      a finding that this case is an exceptional case under 35 U.S.C. § 285
20   and an award to Driveroo of its costs and attorneys’ fees incurred in this action;
21   and
22         g)      further relief as the Court may deem just and proper.
23                                     JURY DEMAND
24         Driveroo hereby demands trial by jury on all issues.
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1    Dated: February 8, 2022             By: /s/ Rodeen Talebi
2                                        Rodeen Talebi

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